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                                 UNITED STATES DISTRICT COURT

                                    FOR THE DISTRICT OF HAWAII


  In re
                                                  Civil No. 20-00368 - LEK-KJM
  ROLLOFFS HAWAII, LLC,
                                                  U.S. Bankruptcy Court-Hawaii
                                Debtor.           Case No. 16-01294 (Chapter 7)


  DANE S. FIELD, Chapter 7 Trustee for            Adversary Proceeding No. 18-90035
  the Estate of Rolloffs Hawaii, LLC,
                                                  FINAL ORDER AND JUDGMENT
                                Plaintiff,        ADOPTING RECOMMENDATION
                                                  RE: TRUSTEE’S PETITION FOR
                     v.                           DETERMINATION OF GOOD
                                                  FAITH SETTLEMENT [RE:
  TRASHMASTERS, LLC; CORRIDOR                     TRASHMASTERS, CORRIDOR
  CAPITAL LLC; CORRIDOR                           AND SPB DEFENDANTS]
  CAPITAL ADVISORS, LLC;
  CORRIDOR TRASHMASTERS, L.P.;
  SPB MANAGEMENT, LLC; SPB
  WASTE, LLC; SPB CAPITAL GP,
  LLC; SPB CAPITAL PARTNERS,
  L.P.; SPB PARTNERS, LLC; CRAIG
  ENENSTEIN; L. GEOFFREY
  GREULICH; EDWARD A.
  MONNIER; JESSAMYN DAVIS; ARI
  D. BASS; SCOTT R. BULLOCH;
  KENNETH M. PRESSBERG;
  KRISTIAN GOURLAY; DOUGLAS
  L. ASAY; DOUGLAS D. ASAY;
  CHARLES E. LEONARD; BRIAN
  COLBECK [ESTATE OF BRIAN
  COLBECK]; ROLLOFFS HAWAII,
  INC.; THE KNG GROUP, LLC;
  COLBECK CONSULTING LLC;
  JOHN DOES 1-50; JANE DOES 1-50;


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  DOE CORPORATIONS 1-50; DOE
  PARTNERSHIPS 1-50; DOE
  ENTITIES 1-50,

                            Defendants.


  DANE S. FIELD, Chapter 7 Trustee for            Adversary Proceeding No. 18-90034
  the Estate of Rolloffs Hawaii, LLC

                            Plaintiff,

                   v.

  TRASHMASTERS, LLC; COLBECK
  CONSULTING LLC; BRIAN
  COLBECK; JOHN DOES 1-50; JANE
  DOES 1-50; DOE CORPORATIONS
  1-50; PARTNERSHIPS 1-50; DOE
  ENTITIES 1-50,

                            Defendants.

                 FINAL ORDER AND JUDGMENT ADOPTING
            RECOMMENDATION RE: TRUSTEE’S PETITION FOR
              DETERMINATION OF GOOD FAITH SETTLEMENT
         [RE: TRASHMASTERS, CORRIDOR, AND SPB DEFENDANTS]

                   On August 25, 2020, the United States Bankruptcy Judge Robert J.

 Faris issued a Report and Recommendation (“Report and Recommendation”) to the

 District Court in which he recommended that this Court grant the Trustee’s Petition

 for Determination of Good Faith Settlement [Re: TrashMasters, Corridor, and SPB

 Defendants] (the “Petition”). [Notice of Transmittal, Attachment 1 (Report and

 Recommendation); filed 8/25/20 (dkt. no. 1-1); id., Exh. C (Petition).]


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                   The Court having reviewed and considered the Report and

 Recommendation and all relevant filings, and having found that good cause exists,

                   IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

                   1.       The Court adopts the Report and Recommendation of the

 Bankruptcy Court.

                   2.       The Petition is Granted.

                   3.       Based upon the totality of the circumstances, the settlement

 entered into between the Plaintiff Trustee DANE S. FIELD (the “Trustee”), and

 Defendants (i) TRASHMASTERS, LLC; (“TrashMasters”); (ii) CORRIDOR

 CAPITAL LLC; CORRIDOR CAPITAL ADVISORS, LLC;                              CORRIDOR

 TRASHMASTERS, L.P.; CRAIG ENENSTEIN; L. GEOFFREY GREULICH;

 EDWARD A. MONNIER; and JESSAMYN DAVIS (collectively the “Corridor

 Defendants”), and (iii) SPB MANAGEMENT, LLC; SPB WASTE, LLC; SPB

 CAPITAL GP, LLC; SPB CAPITAL PARTNERS, L.P.; SPB PARTNERS, LLC;

 ARI D. BASS; SCOTT R. BULLOCH; and KENNETH M. PRESSBERG

 (collectively the “SPB Defendants”, and together with TrashMasters and Corridor

 Defendants, the “Settling Defendants”) as set forth in the Settlement Agreement

 (“Settlement Agreement”), a copy of which is attached to the Petition as Exhibit “1”,

 was made in good faith, within the meaning of Haw. Rev. Stat. § 663-15.5.




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                   4.       Each of the Settling Defendants and those persons or entities

 covered by the Releases set forth in the Settlement Agreement are discharged and

 dismissed with prejudice from all claims, cross-claims, counterclaims and third-

 party claims (however denominated), except those that may be based on a written

 indemnity agreement, filed or that could be filed or asserted by Defendants

 KRISTIAN GOURLAY; DOUGLAS L. ASAY; DOUGLAS D. ASAY; CHARLES

 E. LEONARD; ROLLOFFS HAWAII, INC.; THE KNG GROUP, LLC; BRIAN

 COLBECK [ESTATE OF BRIAN COLBECK]; and COLBECK CONSULTING,

 LLC (the “Non-Settling Defendants”), and any other defendant, third-party

 defendant, party or any other joint tortfeasor or co-obligor arising out of, or relating

 to, any of the damages, injuries or losses sustained, or alleged to be sustained, by the

 Trustee or the bankruptcy estate of Rolloffs Hawaii, LLC, in connection with or

 arising out of the matters covered by the Releases set forth in the Settlement

 Agreement. All such claims by the Non-Settling Defendants against the Settling

 Defendants are expressly barred by this Order.

                   5.       There being no just reason for delay, this order and judgment

 shall be final, and subject to appeal, pursuant to Fed. R. Civ. P. 54(b) and Fed. R.

 Bankr. P. 7054.




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          DATED AT HONOLULU, HAWAII, November 6, 2020.




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